              Case 1:16-cr-00259-JKB Document 396 Filed 11/09/18 Page 1 of 2



                                                          U.S. Department of Justice


                                                          United States Attorney
                                                          District of Maryland
                                                          Northern Division


Robert K. Hur                                             36 South Charles Street       DIRECT: 410-209-4859
United States Attorney                                    Fourth Floor                    MAIN: 410-209-4800
                                                          Baltimore, Maryland 21201        FAX: 410-962-0717
Kenneth S. Clark                                                                       TTY/TDD: 410-962-4462
Assistant United States Attorney                                                      Kenneth.Clark@usdoj.gov


                                                          November 9, 2018

VIA ECF

Honorable James K. Bredar
United States District Court
  for the District of Maryland
101 West Lombard Street
Baltimore, Maryland 21201

           Re:        United States v. Guerra-Castillo, et al., No. JKB-16-0259

Dear Judge Bredar:

        Per your request during our conference call on October 26, 2018, I write to provide a
summary of the capital case process. Although none of the defendants in the above case are
currently charged with capital-eligible offenses, a number of them were involved in one or more
murders. As a result, the Attorney General will decide whether the government will seek the death
penalty in relation to those defendants. The Capital Case Section (“CCS”) at the Department of
Justice initially reviews all cases of potentially death-eligible defendants and, after review, may or
may not seek input from defense counsel on mitigation. CCS then makes a recommendation to
the Attorney General who makes the final decision.

      Prior to making its recommendation, CCS may ask defense counsel to provide input in the
form of a written submission and/or a meeting at which counsel can present any mitigation
arguments/evidence.

        The Third Superseding Indictment alleges that the following defendants were involved in
one or more murders, and CCS has not yet made a decision in their cases. Those individuals who
are highlighted in yellow below are alleged (in the indictment) to have been involved in more than
one murder:

 JORGE RAUL GUERRA CASTILLO, a.k.a. Pelon,
 CARLOS ALAS BRIZUELA, a.k.a. Truco,
              Case 1:16-cr-00259-JKB Document 396 Filed 11/09/18 Page 2 of 2



Page 2 of 2

 CARLOS HERNANDEZ DIAZ, a.k.a. Positivo,
 MILTON PORTILLO RODRIGUEZ, a.k.a. Little Gangster,
 FRANCISCO RAMIREZ PENA, a.k.a. Tepo,
 JOSE ALBERTO SIBRIAN GARCIA, a.k.a. Chango,
 DARWIN ARIAS MEJIA, a.k.a. City,
 MIGUEL LOPEZ ABREGO, a.k.a. Timido,
 ALBARO ROSA MORENO, a.k.a Slow,
 ERVIN ARRUE FIGUEROA, a.k.a. Tricky,
 RONALD MENDEZ SOSA,
 EDWIN RUIZ URRUTIA, a.k.a. Sylvestre,
 BRENDA ARGUETA ARGUETA, a.k.a Prima,
 DARVIN GUERRA ZACARIAS, a.k.a. Chapin,
 LUIS FERNANDO CRUZ RODRIGUEZ, a.k.a. Catra,

       Should you have any questions or need any additional information, please feel free to
contact me at (410) 209-4859.
                                               Sincerely,


                                                 __/s/__________________________
                                                 Kenneth S. Clark
                                                 Matthew DellaBetta
                                                 Catherine K. Dick
                                                 Assistant United States Attorneys

cc:     All counsel of record (via ECF)
